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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                           Case No. 21-cr-00351-JSW-1
                                                         Plaintiff,
                                   8
                                                                                             ORDER DENYING DEFENDANT’S
                                                  v.                                         REQUEST FOR LEAVE TO FILE A
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                                                                                             MOTION FOR RECONSIDERATION
                                  10     HEATHER ELECTA HALWIG                               OF SUPPRESSION ORDER
                                         GHARIBIAN,
                                                                                             Re: Dkt. No. 74
                                  11                     Defendant.
                                  12
Northern District of California
 United States District Court




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                                              Before the Court is Defendant’s motion for leave to file a motion for reconsideration under
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                                       Local Rule 7-9 and Federal Rule of Civil Procedure 60(b). Dkt. No. 74. Defendant asks the Court
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                                       to reconsider its May 9, 2022 order denying Defendant’s motion to suppress. Dkt. No. 64.
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                                              Under Civil Local Rule 7-9, a party may seek leave to file a motion for reconsideration any
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                                       time before judgment. N.D. Civ. L.R. 7-9(a). A motion for reconsideration may be made on one
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                                       of three grounds: (1) a material difference in fact or law exists from that which was presented to
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                                       the Court, which, in the exercise of reasonable diligence, the party applying for reconsideration
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                                       did not know at the time of the order; (2) the emergence of new material facts or a change of law;
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                                       or (3) a manifest failure by the Court to consider material facts or dispositive legal arguments
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                                       presented before entry of judgment. N.D. Civ. L.R. 7-9(b)(1)-(3). Under Federal Rule of Civil
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                                       Procedure 60(b), “upon such terms as are just, the court may relieve a party or a party’s legal
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                                       representative from a final judgment, order or proceeding for the following reasons: (1) mistake,
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                                       inadvertence, surprise, or excusable neglect; . . . or (6) any other reason justifying relief from the
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                                       operation of judgment.”
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                                              Defendant argues that the Court’s order relies on the mistaken interpretation of “on” as
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                                   1   meaning “unlocked” to conclude that (1) because Defendant did not dispute whether the phone

                                   2   was “on” when it was handed to Detective Talley, an evidentiary hearing was not necessary to

                                   3   determine whether the phone was also unlocked; and (2) the phone was already in After First

                                   4   Unlock (“AFU”) mode when it was handed to Detective Talley. Dkt. No. 74-1. But Defendant

                                   5   misstates the Court’s reasoning. The Court did not conclude that an evidentiary hearing was not

                                   6   necessary because Defendant did not dispute whether the phone was “on.” Rather, the Court

                                   7   concluded that an evidentiary hearing was not necessary based on the submitted police report and

                                   8   Detective Talley’s declaration. Dkt. No. 64 at 3 (citing Dkt. No. 55-3 (police report) at 5 (“I

                                   9   observed [Defendant] reach into a black purse and retrieve a black phone which appeared to be an

                                  10   iPhone. [Defendant] entered an access code which opened the lock screen of the device.

                                  11   [Defendant] started to manipulate the device so I told her to give me the phone and she complied”)

                                  12   and Dkt. No. 49-4 (Talley Decl.) ¶ 22 (“I watched the defendant remove a cell phone from a purse
Northern District of California
 United States District Court




                                  13   at the desk where she had been sitting when we first arrived. The defendant then immediately

                                  14   manipulated the phone in front of me, entering the passcode and appearing to open the phone.

                                  15   From where I was standing, I could see that the phone went from the lock screen to the home

                                  16   screen, indicating that it had been unlocked”)). And because Defendant unlocked the phone, as

                                  17   noted by Detective Talley, the Court concluded that Defendant’s phone was already in AFU mode

                                  18   when it was handed to Detective Talley. The fact that Detective Talley subsequently entered

                                  19   Defendant’s passcode to unlock the phone does not contradict Detective Talley’s testimony that

                                  20   the phone was unlocked when Defendant handed her the phone.

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                                   1          Defendant premises her request for leave to file a motion to reconsider on Local Rule 7-

                                   2   9(b). However, the Court considered all of the materials submitted by Defendant and all of her

                                   3   legal arguments, and it found them unpersuasive. To the extent Defendant relies on Rule 60(b),

                                   4   the Court has considered Defendant’s arguments in favor of reconsideration, finds them

                                   5   unpersuasive, and finds no reason to amend or reconsider its order.

                                   6          Accordingly, Defendant’s motion for leave to file a motion for reconsideration is

                                   7   DENIED.

                                   8          IT IS SO ORDERED.

                                   9   Dated: May 31, 2022

                                  10                                                  ______________________________________
                                                                                      JEFFREY S. WHITE
                                  11                                                  United States District Judge
                                  12
Northern District of California
 United States District Court




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